     Entered on Docket July 16, 2018
                                                          Submitted But not Entered.

                                                           _____________________
                                                           Mary Jo Heston
                                                           U.S. Bankruptcy Judge
                                                           (Dated as of Entered on Docket date above)

 Service of Kabbage, Inc. is deficient. Motion must be made in accordance with Rule 9014, which requires
 service in the manner provided for by Rule 7004. Service upon a domestic or foreign corporation or upon a
 partnership or other unincorporated association must be to the attention of an officer, managing or general
 agent, or agent authorized to receive service. Fed. R. Bankr. P. 7004(b)(3).




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